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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:08CR3178
                                        )
            v.                          )
                                        )
LATRAIL L. TAYLOR,                      )                 JUDGMENT
                                        )
                   Defendant.           )
                                        )


      IT IS ORDERED the judgment is entered in favor of the United States and
against the Defendant providing that the Motion to Vacate under 28 U.S.C. § 2255 is
denied and dismissed with prejudice. No certificate of appealability will be issued.

      DATED this 16th day of September, 2016.

                                       BY THE COURT:

                                       s/ Richard G. Kopf
                                       Senior United States District Judge
